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7                                                   JS-6
8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10
11    NEIL HENRY EDWARDS, an               ) Case No.: CV 12-08043 GAF (MRWx)
12    Individual;                          )
                                           ) Hon. Gary A. Feess
13                                         )
             Plaintiff,                    )
14                                         )
             vs.                           ) ORDER OF DISMISSAL WITH
15                                         ) PREJUDICE OF DEFENDANT
      TRANS UNION LLC, is business         )
16    entity, form unknown; and DOES 1-10, ) TRANS
                                              CASE
                                                    UNION LLC AND ENTIRE
      Inclusive,                           )
17                                         )
             Defendants.                   )
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18                                         )
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19                                         )
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20                                         )
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21                                         )_
22
23          Plaintiff Neil Henry Edwards has announced to the Court that all matters in
24    controversy against Trans Union LLC have been resolved.
25          A Stipulation of Dismissal with Prejudice has been signed and filed with the
26    Court. Having considered the Stipulation of Dismissal with Prejudice, the Court
27    makes and delivers the following ruling:
28
                                                        1
               ORDER re: Stipulation of Dismissal With Prejudice of Def. Trans Union and Entire Case
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1           IT IS ORDERED that the claims and causes of action asserted herein by

2     Plaintiff Neil Henry Edwards against Defendant Trans Union LLC are in all
3     respects dismissed with prejudice to the re-filing of same, with Court costs to be
4     paid by the party incurring same.
5           Since there are no remaining defendants in this case, this order shall result in
6     the dismissal of the entire case.
7
8     DATED this 17th day of September 2013.
9
10                                                    __________________________
11           JS-6                                     GARY A. FEESS
12                                                    UNITED STATES DISTRICT JUDGE
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                                                         2
                ORDER re: Stipulation of Dismissal With Prejudice of Def. Trans Union and Entire Case
